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                      UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA
____________________________________
                                     )
UNITED STATES OF AMERICA             )
                                     )
      v.                             ) Criminal Action No. 22-61 (RBW)
                                     )
JON NICHOLAS HENEGHAN and            )
                        ,            )
                                     )
                  Defendants.        )
____________________________________ )

                                             ORDER

       In accordance with the oral rulings issued by the Court at the status hearing held on

October 19, 2022, via teleconference, it is hereby

       ORDERED that, on November 8, 2022 at 10:00 a.m., the parties shall appear for a plea

hearing before the Court in Courtroom 16 on the 6th floor at the E. Barrett Prettyman United

States Courthouse, 333 Constitution Avenue, N.W., Washington, D.C. 20001. It is further

       ORDERED that, on or before November 4, 2022, the parties shall submit to the Court

the plea documents set out in the General Order Governing Criminal Cases Before the Honorable

Reggie B. Walton, ECF No. 30. It is further

       ORDERED that, with the consent of both the defendants and the government, the time

from October 19, 2022, until the plea hearing scheduled for November 8, 2022, is excluded

under the Speedy Trial Act, in light of the defendants desire to resolve this case short of trial

and to allow the parties time to finalize the plea paperwork in this case.
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SO ORDERED this 25th day of October, 2022.



                                             ________________________
                                             REGGIE B. WALTON
                                             United States District Judge




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